Case 2:97-cr-20239-.]PI\/| Document 218 Filed 08/04/05 Page 1 of 3 Page|D 112
IN THE UNITED STATES DISTRICT COURT Fj, il q `
FOR THE wEsTERN DISTRICT 0F TENNESSEE ` " i""f' >7.¥*7/`

WESTERN DIvIsIoN G-C.

 

 
   

C[.EH\`\';»:\ :.': -'5: .-I.""\"#')"
UNITED sTArEs oF AMERICA ) CR. No. 97-20234-M1W//1§§;? f l`Clc]Jl/g;~
) 97-20235-M1 ` ' "'*"EHPHAS`
Plainciff, ) 97-20236-M1
) 97-20237-1\/11
vs ) 97-20238-M1
) 97-20239-M1 \/
EDDre JETER ) 97-20240-M1
) 97-20241-M1
Defendant. ) 05-20014-Ml

 

*E-X-T-E-N-D-E-D ORDER TO SURRENDER

 

 

The defendant, Eddie Jeter, having been sentenced in the above case to the custody of the
Bureau of Prisons and having been granted leave by the Court to report to the designated facility,
IS HEREBY ORDERED to surrender to the Bureau ofPrisons by reporting to the FCI-MEMPHIS
(SCP), 1101 John A. Denie Road, Memphis, TN 38138 by 2:00 P.M., *TUESDAY, SEPTEMBER
Q-M

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Office of the Clerk, Federal Office Building, 167 N. Main Street, Room 242,
Memphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the
defendant will report as ordered to the facility named above.

ENTERED this the g/ day of August, 2005 .

MQ.M“MZ

JO PHIPPS McCALLA
U ITED STATES DISTRICT JUDGE

 

Thls document entered on the docket sheet in compliance
W|th Flule 55 and/or 32(b) FHCrP on " ’O

 

Case 2:97-cr-20239-.]P|\/| Document 218 Filed 08/04/05 Page 2 of 3 Page|D 113

ACKNOWLEDGMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

   

UNITED `STATES DISTRICT COUR - WESTERN D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 218 in
case 2:97-CR-20239 vvas distributed by faX, mail, or direct printing on
August 8, 2005 to the parties listed

 

 

Jacob E. Ervvin
WAGERMAN LAW FIRM
200 Jefferson Avenue

Ste. 13 13

1\/lemphis7 TN 38103

Carroll L. Andre

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

